                       UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

In re:                                                  Case No. 19-54531-pjs

Joseph G. DuMouchelle,                                  Chapter 11
a/k/a Joe G. DuMouchelle and
Melinda J. Adducci,                                     Hon. Phillip J. Shefferly
a/k/a Lindy J. Adducci,

          Debtors.
                                    /
    EX PARTE MOTION FOR ORDER TO SET EXPEDITED HEARING
   ON U.S. TRUSTEE’S MOTION TO CONVERT AND FOR ORDER
 SHORTENING TIME FOR FILING OBJECTIONS TO UNITED STATES
            TRUSTEE'S MOTION TO CONVERT CASE

Daniel M. McDermott, United States Trustee for Region 9, states as follows:

         1.    This is the United States Trustee’s Ex Parte Motion to Set Expedited

Hearing on the U.S. Trustee’s Motion to Convert and for Order Shortening Time for

Filing Objections to United States Trustee’s Motion to Convert Case (the “Motion”.)

This Motion is filed under L.B.R. 9006-1 and F.R.Bankr.P. 9006(c). A proposed

Order is attached.

         2.    The United States Trustee filed a Motion to Convert this case on

November 20, 2019.

         3.    According to F.R.Bankr.P. 9006(c):

         [e]xcept as provided in paragraph (2) of this subdivision, when an act
         is required or allowed to be done at or within a specified time by these
         rules or by a notice given thereunder or by order of the court, the court


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      for cause shown may in its discretion with or without motion or notice
      order the period reduced.

Federal Rule of Bankruptcy Procedure 9006(c)(2) does not preclude the reduction

of the time for taking action on this motion. Furthermore, under L.B.R. 9006-1(b),

“[u]nless prohibited by Fed.R.Bankr.P. 9006, and to the extent otherwise permitted

by the Code and the Federal Rules of Bankruptcy Procedure, a party may move in

writing for, and the Court may sign, an ex parte order reducing or enlarging the time

for a party to take any action or file any paper.” As set forth above, Fed.R.Bankr.P.

9006 does not preclude a reduction of the normal 21 day time period for filing

objections to such motion.

      4.      In the present case, there is cause for granting the United States

Trustee’s Motion because as set forth in the U.S. Trustee’s Motion to Convert, the

Debtors cannot act as fiduciaries in this case, property is significantly underinsured,

and there is the potential for removal, concealment or transfer of assets.

      5.      The U.S. Trustee requests that the Court set this matter for hearing as

soon as the Court’s docket permits, and further that the Court allow responses and

objections to be filed up to 24 hours prior to hearing on the U.S. Trustee’s Motion

to Convert.

      6.      Because this Motion is submitted on an ex parte basis, the U.S. Trustee

believes no further notice is required.




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      7.    In addition to service by U.S. Mail, email and through the electronic

filing system of the Court, telephonic notice of the filing Motion to Convert and of

this Ex Parte Motion for Order Setting Expedited Hearing and for Order Shortening

Time to Respond has been provided to Debtors’ counsel of record, Aaron J.

Scheinfield of Goldstein, Bershad and Fried, and at aaron@bk-lawyer.net.

      WHEREFORE, the United States Trustee respectfully requests that the Court

grant the U.S. Trustee’s Motion for Order to Set Expedited Hearing and for Order

Shortening the Time for Filing Objections to the U.S. Trustee’s Motion to Convert,

and for such other relief as the Court deems appropriate.

                                              Respectfully submitted,
                                              DANIEL M. McDERMOTT
                                              UNITED STATES TRUSTEE
                                              Region 9

                                       By     /s/ Leslie K. Berg
                                              Trial Attorney
                                              Office of the U.S. Trustee
                                              211 West Fort St - Suite 700
                                              Detroit, Michigan 48226
                                              (313) 226-7950
                                              Leslie.K.Berg@usdoj.gov
Dated: November 20, 2019




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                      UNITED STATES BANKRUPTCY COURT
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In re:                                                 Case No. 19-54531-pjs

Joseph G. DuMouchelle,                                 Chapter 11
a/k/a Joe G. DuMouchelle and
Melinda J. Adducci,                                    Hon. Phillip J. Shefferly
a/k/a Lindy J. Adducci,

         Debtors.
                                   /

    ORDER GRANTING EX PARTE MOTION FOR ORDER TO SET
    EXPEDITED HEARING AND SHORTENING TIME FOR FILING
     OBJECTIONS TO UNITED STATES TRUSTEE’S MOTION TO
                        CONVERT

         THIS MATTER came before the Court on the Ex Parte Motion of the United

States Trustee for an Order to Set Expedited Hearing on the U.S. Trustee’s Motion

To Convert and for Order Shortening Time for Filing Objections to United States

Trustee's Motion To Convert Case.

         The Court has determined that notice of the Expedited Hearing Motion was

sufficient given the circumstances; objections to the Expedited Hearing Motion, if

any, have been withdrawn or are overruled; and the Court being duly advised in the

premises;




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      NOW THEREFORE, IT IS HEREBY ORDERED that the hearing on the

Motion to Convert before the Honorable Phillip J. Shefferly shall take place on the

__ day of November, 2019 at ___ [a.m./p.m.];

      IT IS FURTHER ORDERED that any objections to the entry of the order

granting the Motion to Convert as a final order shall be filed and served so as to be

received by the United States Trustee at least 24 hours before the above-scheduled

hearing by the U.S. Trustee’s counsel at the following address:

                          Leslie K. Berg
                          Office of the U.S. Trustee
                          211 West Fort Street Suite 700
                          Detroit, Michigan 48226
                          Leslie.K.Berg@usdoj.gov

      IT IS FURTHER ORDERED that unless served by the Court’s electronic

court filing system (“ECF”), the U.S. Trustee will serve this Order and the Motion

to Convert upon (1) the Debtors, (2) all secured creditors, (3) the 20 largest

unsecured creditors; and (4) all parties requesting service through the Court’s ECF

system promptly upon entry of this Order.




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